            Case 5:20-cv-00577-OLG Document 49 Filed 11/03/21 Page 1 of 2                 FILED
                                                                                    November 03, 2021
                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                   WESTERN DISTRICT OF TEXAS

                            UNITED STATES DISTRICT COURT                                                     JU
                                                                                BY: ________________________________
                             WESTERN DISTRICT OF TEXAS                                                  DEPUTY
                                SAN ANTONIO DIVISION


LINDA JANN LEWIS; MADISON LEE; ELLEN                     Civil Action
SWEETS; BENNY ALEXANDER; GEORGE
MORGAN; VOTO LATINO; TEXAS STATE
CONFERENCE OF THE NATIONAL
ASSOCIATION FOR THE ADVANCEMENT OF                       Case No. 5:20-cv-00577-OLG
COLORED PEOPLE; and TEXAS ALLIANCE
FOR RETIRED AMERICANS,

                      Plaintiffs,

       v.

JOHN SCOTT, in his official capacity as the Texas
Secretary of State,

                      Defendant.



                                            ORDER

       Plaintiffs have filed an unopposed motion to drop plaintiff Benny Alexander as a party

under Rule 21 and request for an indicative ruling under Rule 62.1(a). After giving due

consideration to this unopposed motion, the Court determines as follows:

       The Court concludes that it would be inclined to grant Plaintiffs’ Rule 21 motion if the

U.S. Court of Appeals for the Fifth Circuit remands the above-captioned case to this Court for that

limited purpose.

       It is further ORDERED that pursuant to Rule 62.1(b), Plaintiffs shall promptly notify the

circuit clerk under Federal Rule of Appellate Procedure 12.1 of the Court’s decision.
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SIGNED this ___
            3rd day of ____________,
                        November     2021.



                                        _________________________________________
                                        Orlando L. Garcia
                                        CHIEF UNITED STATES DISTRICT JUDGE




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